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                                              Exhibit 7 Pg. 1
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      Office ofAdmissions



 KAMRYN PERRY
 5907 CROOM STATION RD
 UPPER MARLBORO, MD 20772-9504
 UNITED STATES




     December 15, 2016


     Dear Kamryn,

      On behalf of the Admissions Committee, it is my distinct honor to share that you have been admitted to Drexel University.
     ,Congratulations! You should be extremely proud ofyour accomplishments, and I encourage you to celebrate with your
      family and friends.

     Anthony J. Drexel, legendary Philadelphia financier and philanthropist, founded Drexel University in 1891. As we
     celebrate our 125th anniversary, I have the pleasure of welcoming you to one of the nation's leading and most influential
     universities. With a history steeped in entrepreneurship and innovation, being a student at Drexel means that you will have
     access to opportunities and resources that will change the trajectory of your life.

     Your admission is contingent on the successful completion of your existing academic program of study at a performance
     level comparable to the one presented in your application, including any predicted exam results. Be sure to visit our
     website to review our expectations for admitted .students at drexel.edu/undergrad/resources/admitted.

     To review more information about your admission to Drexel, view your financial aid awards, and to confirm your
     enrollment, visit Discover Drexel at discover.drexel.edu, logging in with your email address and account password.

     Kamryn, again, congratulations! I could not be more excited to share this with you, and I hope you take some time over
     the next few weeks to celebrate your accomplishments. We look forward to meeting you soon and welcoming you to the
     Drexel community as one of our newest Dragons!

     Sincerely,




      Evelyn K. Thimba
      Vice President & Dean ofAdmissions
      E11roll111e11t Ma11ageme11t & Student Success

      P.S. I encourage you to visit our admitted students website at drexel.edu/undergrad/resources/admitted and start
      connecting with your fellow new Dragons using #drexelaccepted.




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